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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE
                            CASE NO. 3:16-CV-00025-DJH
                                 Electronically Filed

Marva Dockery, as Administratrix of                                              Plaintiff
The Estate of Mildred Marshall

v.

GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter – Hillcreek;
GGNSC Administrative Services, LLC;
GGNSC Clinical Services, LLC;
GGNSC Equity Holdings, LLC;
Golden Gate National Senior Care, LLC;
GGNSC Holdings, LLC;                                                          Defendants



                           AGREED ORDER OF DISMISSAL

        Plaintiff, Marva Dockery, as Administratrix of the Estate of Mildred Marshall

(“Plaintiff”) and Defendants, GGNSC Louisville Hillcreek, LLC d/b/a Golden LivingCenter –

Hillcreek; GGNSC Administrative Services, LLC; GGNSC Clinical Services, LLC; GGNSC

Equity Holdings, LLC; Golden Gate National Senior Care, LLC, GGNSC Holdings, LLC

(“Defendants”), through counsel, hereby agree to the dismissal of this lawsuit WITH

PREJUDICE , and each party shall bear its own costs.

        SO ORDERED this ___ day of _______________, 2018.




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Respectfully submitted,

/s/Marcia L. Pearson                      /s/Brian D. Reddick (with permission)
Marcia L. Pearson                         Brent L. Moss
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